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                          UNITED      STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                                 Newport News Division


 UNITED      STATES OF AMERICA,



        v.                                                        Criminal No.           4:08crl6-3



 DAVID ANTHONY RUNYON,


                     Defendant.


                                      MEMORANDUM      ORDER


        This    matter      comes      before     the      court     on     the        Defendant's


  "Motion for Limited Unsealing of Record and for Leave to Review

 and Copy Materials in the               Custody of the Court"                  ("Motion"),       ECF

 No. 415,      and Memorandum         in Support        thereof,      ECF No. 416,              filed

  through counsel on March 17,              2015.     On March 18,              2 015,   the court

 ordered the United States to file responsive pleadings,                                       Order,

  ECF   No. 417,     with    which       directive         the     United        States        timely

 complied       on   March 31, 2015             ("Response").             ECF        No. 418.1     On

 April 3, 2015,      the Defendant          filed his Reply.               ECF No. 421. The

 Motion is now ripe for review.

        By     Memorandum        Order     of      November 5, 2014,                  this      court

 appointed        Michele        J.      Brace        of      the         Virginia           Capital

 Representation      Resource          Center    to     represent          the       Defendant     on

 collateral      review     in   this     court.      ECF    No.    410.        In    the    instant


 1 Also on March 31, 2015, the Defendant filed his "Request for
 Leave to File Rebuttal Brief," ECF                         No.    419,     which        the    court
 granted that same day. ECF No. 4 20.
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 Motion,        the    Defendant         asks     to    copy various             documents        from        the

  trial     record,          including          juror        questionnaires,               the     list        of

 potential        jurors          who    were        peremptorily          struck       and      the        party

 which exercised each strike,                         and all documents filed ex parte or

  under seal.         Mot.    at 1.      The Defendant asserts that                     "[i]n order to

  investigate whether Runyon's                        trial counsel rendered ineffective

  assistance          with    respect           to     the       process        of     jury      selection,

  postconviction            counsel       must        review      all     of    the     materials            that

  trial counsel possessed."                     Mem.    Supp.       Mot.       at 2.    The court does

  not     disagree.         Nor     does        the     court      disagree           with    the       United

  States'       position      that       the     Defendant         is    not    entitled         to    all     of

  the material requested.                  See Resp.             at 2.    For the       reasons stated

  below, the court GRANTS in part and DENIES in part the Motion.

                                    I.    Juror Questionnaires

          The     Defendant              requests            a     copy         of      the       completed

  questionnaires             of     all        prospective           jurors          who      returned          a

  questionnaire, in the form of a CD. Mem. Supp. Mot. at 1-3. The

  United States agrees that the Defendant is entitled to a copy of

  the    questionnaires             of    the        jurors       who    were        brought      into        the

  courtroom           for    voir        dire        proceedings,             but     objects          to     the

  Defendant obtaining the questionnaires from the jurors who were

  either excused or were never called into the courtroom.                                                   Resp.

 at 2.      In        his     Reply,           the      Defendant             again        asserts           that

 postconviction              counsel       needs         access          to     all     of       the        juror
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  questionnaires,       "in    order       to   determine,      for    example,    whether

  trial counsel unreasonably failed to challenge                        compliance with

  the jury selection procedures under 2 8 U.S.C.                      § 18 61 et seq. and

  this   Court's     Plan    for    the   Random   Selection      of    Grand    and     Petit


  Jurors." Reply at 2.

         As to the Defendant's request for all juror questionnaires,

  the    court     GRANTS    the    Motion,      provided      that    counsel     for     the

  Defendant      maintains     the        materials      as    filed    under     seal     and


  returns all materials to the Clerk when the habeas litigation is

  complete,      together with a sworn statement from counsel that the

  materials have been maintained under seal, and no copies thereof

  of any nature—paper,             electronic,     or otherwise—exist.           The Clerk

  is DIRECTED to release copies of the questionnaires of all the

  prospective jurors who completed a questionnaire,                       to counsel for

  the Defendant and to the United States Attorney at Newport News.

  No    contact,    direct    or    indirect,      may    be   made    with any of         the

  prospective jurors, or any juror who served at any juncture in

  the case,      absent further order of the court.2




  2 Counsel for both parties are also reminded of Local Criminal
  Rule 24, as follows in relevant part:

         [N] o juror shall be approached, either directly or
         through any member of his or her immediate family, in
         an effort to secure information concerning such
         juror. ... No attorney or party litigant shall
         personally, or through any investigator or any other
         person acting for the attorney or party litigant,
         interview, examine, or question any juror or alternate
         juror with respect to the verdict or deliberations of
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                              II.    Peremptory Strike Lists

         The    Defendant       next      requests       any peremptory           strike    lists.

  Mem.     Supp.     Mot. at    3.     In    support,          the   Defendant       argues      that

  "[i]nformation about who struck whom was known to trial counsel,

  and postconviction counsel needs that same information in order

  to investigate potential claims." Id. The United States does not

  object       to    postconviction          counsel       obtaining          a   copy     of     any

  peremptory strike lists that may exist.                        Resp.       at 2. However,       the

  United States requests that the Defendant be ordered to use the

  initials of         jurors and not          their full         names,       if postconviction

  counsel      makes    a    claim     regarding         the    strikes.       Id.    at   2-3.    In

  Reply,    postconviction counsel opposes the United States'                              request

  that juror initials be substituted for full names. Reply at 2-3.

         As to the Defendant's request for peremptory strike lists,

  the    court      GRANTS     the     Motion,     provided           that    counsel      for    the

  Defendant         maintains       the     materials      as        filed    under     seal3     and

  returns all materials to the Clerk when the habeas litigation is



         the jury in any criminal action except on leave of
         Court granted upon good cause shown and upon such
         conditions as the Court shall fix.

  E.D. Va.     Loc.    Crim. R.      24(A)    &   (C).

  3
      The court notes        that postconviction counsel must maintain the
  peremptory lists under seal. The court values and respects the
  personal identity and very private information, often revealed
  during the jury selection process, of those citizens called
  forth as potential jurors. This is more than enough of a
  "discernible reason," see Mem. Supp. Mot. at 4, for the court to
  order both parties to maintain the peremptory lists under seal.
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  complete,     together with a sworn statement from counsel that the

  materials have been maintained under seal,                       and no copies thereof

  of    any nature—paper,          electronic,       or otherwise—exist.              However,

  to    the   extent   that    the     Defendant         uses    the    information      in    the


  peremptory strike lists in his habeas petition,                            the Defendant is

  ORDERED to use the          initials of jurors and not their full names,

  or to use juror number identifiers.

                              III.    Sealed Docket Entries


         Lastly,    the Defendant requests all docket entries that were

  originally       filed   under      seal    or    ex    parte.       The   Defendant     lists

  approximately one hundred records, including those filed by his

  co-defendants,       Catherina        Rose       Voss    and     Michael       Anthony      Eric

  Draven.     See Mem.     Supp.     Mot.    at 4. The Defendant argues that the

  "pleadings filed by another defendant can be                           relevant,     because

  they may      show   issues        that    Runyon's      trial       counsel    should have

  been aware of, but did not pursue." Id. at 5.4 In its Response,

  the United States does not object to the Defendant's request as

  to all sealed documents filed by the Defendant's trial counsel,

  but    does object to the Defendant's request as                             to all other

  sealed documents filed by other parties. Resp. at 3.



    Such an argument is odd and a bit nonsensical. The purpose of
  new counsel on collateral review is to have the knowledge and
  expertise on her own to              review what was           filed and not filed on
 the Defendant's behalf, and to make any appropriate claim of
 ineffective assistance of counsel. Effective postconviction
  counsel should not need suggestions                     for such claims          from other
  co-defendants'       trial counsel.
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       " [A]    district       court     4has   supervisory   power     over     its       own

 records       and   may,   in    its     discretion,     seal      documents        if    the

 public's right of access is outweighed by competing interests.'"

 Ashcraft      v.    Conoco,     Inc.,    218   F.3d   288,   302    (4th     Cir.    2000)

  (quoting In re        Knight    Publ'g Co. , 743       F.2d 231,      235    (4th Cir.

 1984)).5 As to the Defendant's request for all docket entries

 filed under seal or ex parte,6                  the court GRANTS in part and



 5 All docket entries that were filed ex parte or under seal were
 properly so designated at the time of filing and there was no
 claim to the contrary. Current habeas counsel has provided no
 basis for such a claim. In point of fact, the court has reviewed
 anew all of the submissions filed under seal and ex parte, and
 relatively few involve one of the co-defendants. Those that were
 filed on behalf of one of the co-defendants are basically ex
 parte motions for legal fees or on non-substantive matters, with
 none   being   relevant to  the  Defendant's   collateral  review
 process. To grant a defendant such broad access to sealed and ex
 parte   filings by co-defendants   would create an unwarranted
 precedent, whereby criminal defendants would not have confidence
 that their sealed and ex parte private filings would remain so
 and that these filings could be released for no good reason,
 other than for a "fishing expedition" by counsel for another
 defendant. See infra note 6. Moreover,     like this court, the
 appellate court may review on its own all filings under seal or
 ex parte, if there is any reliable suggestion that something
 untoward lurks therein.


 6 Although in his Reply the Defendant asserts that "the United
 States reasonably expresses no objection to the release of
 documents filed ex parte," Reply at 3, the court does not read
 the United States' Response in such a manner. The United States
 neither specifically objects nor agrees to the release of all
 documents filed ex parte. However, the court does not see why
 the United States would object to the release of the co-
 defendants' sealed documents on the ground that such action
 would lead to a "fishing expedition," but acquiesce to the
 release of all ex parte documents,                which the court submits could
 likewise lead to a "fishing expedition." See Resp.                         at 3;         supra
 notes 4 & 5. Moreover, the United States objects to the release
 of the co-defendants'    sealed files  for not affecting the
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 DENIES          in    part    the   Motion.   Specifically,       the    Defendant        is

 granted access only to those docket entries filed under seal or

 ex parte in the Defendant's case and on his behalf.

        The Clerk shall forward a copy of                  this Memorandum Order to

 counsel         for   the Defendant     and to   the    United States        Attorney at

 Newport News.

            IT   IS   SO ORDERED.                                    hi
                                                        Rebecca Beach Smith
                                                               Chief                0/30
                                                        United States District Judge -^gCr
                                                  REBECCA BEACH        SMITH
                                                  CHIEF JUDGE


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 Defendant and being unknown to trial counsel. Id. The court
 notes that this reasoning applies equally to ex parte documents.
